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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF CONNECTICUT

ELISSA SPEER

                                                C.A.NO    3:1vw111~ AwT
vs

DANJON CAPITAL, INC
TINA HAMPTON
HOGAN HULET PLLC                                                     NOV 12 2019 , t l .i:H
WORLD BUSINESS LENDERS, LLC                                         FILED-1}:;[)C-CT ·1ARTf· , 'D
WBL SPE II LLC

                                  COMPLAINT

       The Plaintiff, Elissa Speer, complains to the best of her knowledge and belief,

as follows:

                    I. Jurisdictional and Venue Allegations

       1. The Plaintiff seeks recovery under 18 USC §1964(c) for wire fraud (18 USC

§1343) , Money Laundering (18 USC §1956), Operating and which is defined as

"Racketeering Activity" pursuant to 18 USC §1961 ). Federal Courts have jurisdiction

under all cases involving a Federal Question, which this one does pursuant to 28 USC

§1331. The Court further has jurisdiction pursuant to the Fair Debt Collections

Practices Act, 15 USC §1692a, et seq. This Court has supplemental jurisdiction to

hear Connecticut law claims alleged herein as well.

       2. The Parties are citizens of Connecticut (the Plaintiff) and Nevada (the

Defendants, except for World Business Lenders, LLC ("WBL"), a New Jersey LLC, and

WBL SPE II LLC ("WBL II")), and the amount of controversy exceeds $75 ,000, thereby

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invoking 28 USC §1332. This Court may exercise jurisdiction over the Defendants

because the matters complained of involve their: (1) transactions within this State; (2)

their tortious acts commited within this State; and (3) title and interest in real property

within Connecticut affected thereby and by virtue of the foregoing, thus fulfilling the

requirements of CGS §52-59(b) to establish in personam jurisdiction.

       3. Danjon Capital, Inc. ("Danjon", and "Danjon Defendants" meaning

Defendants Hogan, Hampton and Danjon, collectively) is a Nevada Corporation and

has a principal place of business at 800 Rainbow Blvd Suite 125, Las Vegas, NV

89107. Defendant Tina Hampton is an employee/agent of Danjon.

       4. Hogan Hulet PLLC ("Hogan") is a law firm and has a principal place of

business at 1140 N Town Center Dr Suite 300, Las Vegas, NV 89144.

                     II. General Allegations

       5. The Plaintiff sought a loan from Danjon Capital, Inc. in the amount of $30,000

in May of 2016. As collateral, Defendant Tina Hampton, at the behest of Danjon,

required the Plaintiff to grant it a mortgage on real property, and the Plaintiff executed

a Note referencing that same mortgage. Prior to entering into the loan, the Plaintiff

paid finder's fees of $5,000 in the aggregate to two different third party in order to be

put in touch with Danjon Capital.

       6. After executing the Note and Mortgage, Hampton and Danjon refused to

release the $30,000 unless the Plaintiff executed a second contract, a lease

agreement. The Defendants already had the executed Note and Mortgage in hand,


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and fully intended to have the mortgage recorded, which they did. The Plaintiff was

instructed by Hampton to provide a list of equipment owned by her business

(equipment in her control and possession), who, according to the second contract,

would become Danjon's supplier, and who would in turn lease it to her. The "list of

equipment" consisted of:


                                                           Exhibit "A''
                EQUIPMENT SUPPLIER and EQUIPMENT DESCRIYTION

                SUPPUER NAME: JEM Contracting Co., LLC                        TELEPHONE: 860-861-8130
                BILLING ADDRESS: 151 Talman Sireet N., Norwic~ CT 06360       FAX:

                       P1apcrty Maintenance Equipment
                       Socket Sets, Drill Bits, Wrenches
                       ,1ppliances - Stoves, Refrigetitors, Washers &Diyeis
                       undscape Eguipment
                       ScaggMower
                       Ladders &Scaffold
                1      B' Sections Staging W/Braces
                2      Fiber~ass 28' faten~on Ladder
                1      Fiberglass 40' R,tension u.dder
                2      Leaf Blower (Backpick Gas)

       7. Defendants Danjon and Hampton are not licensed in banking, money

transmitting or loan origination, and never were at any time alleged herein. They, and

Defendant Hogan, have attempted to collect additional illegal and usurious fees from

the Plaintiff as consideration for initiating the term of repayment and also throughout.

These included the origination fee of $1770, which Danjon extracted up front, on Day

one of the Loan. Although the face value of the Note is $30,000, the Defendants

employed the use of Nevada Courts (a jurisdiction without any usury laws) and



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claimed a total of $112,761.26 to be owed, falsely representing even the terms of the

bait and switch lease contract as one for "restaurant equipment".

      8. All Defendants operate in a scheme to offer consumers and distressed or

unqualified borrowers who own real property payday loans with payday loan type

terms, with interest rates that well exceed Connecticut's (and other jurisdictions') usury

statutes. After securing said loans with the initial Note and Mortgage, the Danjon

Defendants then force the creation of a second, false lease contract in order to

disguise the mortage loan as a commercial lease agreement for restaurant equipment.

The objective of this scheme is, once the loan defaults, to have Defendant Hogan

bring or threaten to bring suit in Las Vegas County in order to evade usury laws, obtain

a judgment on the artifice that is the fake restaurant lease contract and then

subsequently benefit from the mortgage already obtained on real property.

       9. In their haste to solidify their fraudulently induced hold on the Plaintiff and

equity in real property she had access to, Defendants Danjon and Hampton induced

her to sign a Note that claims it was "entered into in the State of California and shall be

deemed to have been made under and shall be governed by federal law and, except

to tne extent preempted by federal law, by the laws of the State of California in all

respects, including matters of construction, validity and performance. Any action, suit

or proceeding relating to this Promissory Note or any guaranty or endorsement of this

Promissory Note may be instituted and prosecuted in the state or federal courts of fhe

State of California". The terms of the Note function well in excess of interest beyond


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400%, yet California's constitution limits interest rates to seven percent.

      10. The Plaintiff never was or presently is in the restaurant business. All the

Defendants, at all times herein, knew that The Plaintiff never was or presently is in the

restaurant business. None of the items in the purported list of equipment leases,

including but not limited to the two backback leaf blowers, have any safe, practical or

functional use in the restaurant business.

      11. If the consumer signs the loan documents (the Note and Mortgage, as the

Plaintiff had) and transmits them via facsimile, the precondition to going forward with

the transaction is to enter into the fake restaurant lease equipment agreement. Said

Second Agreement's terms specifically and emphatically waive rights and remedies

under applicable consumer statute and critical prejudgment remedy protections.

       12. The cost of the Plaintiff's loan the Danjon Defendants, through fraud on the

inducement at first and later on by false representation to the Clark County Nevada

Court, was criminally extortionate. This included an origination fee of $1,770, which

Danjon extracted up front, on Day one of the Loan. Both the Note and the Fraudulent

Lease called for identical weekly payments in the amount of $1,018.69, with late fees

being the higher of $300 or any unpaid portion of the payment not made. The annual

percentage of the loan exceeds 400 percent. The Note also provides for $5,000 in

additional fees that are deferred until July 2017, which also take effect if the Note is

not paid in full by that date. The Danjon Defendants claimed compensatory damages

"in excess of $15,000" for equipment that they never owned, they never purchased,


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they never controlled and never even existed within the State of Nevada. $112,761.26

was claimed to be owed in total under the fraudulent lease agreement.

      13. Prior to the Plaintiff discovering or learning of the Danjon Defendants' initial

scheme complained of herein, the Danjon Defendants, for again another referal fee

and in collusion with WBL, fraudulently induced the Plaintiff into a second loan,

fraudulently inducing her to sign as gaurantor and grant a Note and Mortgage ("WBL

Note" and "WBL Mortgage") on real property known as 526-528 North Main Street in

Norwich, Connecticut, purportedly on funds lent from the Bank of Lake Mills, a

Wisconsin bank.

       14. The terms of the WBL Note and Mortgage were similarly astronomical to

that of the Danon Note and Mortgage, resulting in interest ultimately charged of over

121% (ultimately over $85,000) to borrow $20,000 (in addition to a "prepayment

penalty" of $10,679.42 at over 53% interest), which WBL used a highly inflated

appraisal (which does not purport to be USAP compliant and for which the Plaintiff was

charged by WBL $1,200 to conduct) to originate and then fraudulently repackage and

resell on the secondary debt market. The broker price opinion that WBL generated in

house to release the funds from Bank of Lake Mills in furtherance of its fraudulent

scheme listed the property as in "fair" condition, with satellite photos clearly showing

holes in the roof and the interior pictures evidencing an outright uninhabitable

structure. In order to conceal WBL's conduct complained of herein, it subsequently

transferred the WBL Note and Mortgage to a shell entity it owned and controlled,


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Defendant WBL II, which proceeded to attempt unlawful actions to enforce.

      15. Connecticut's relevant usury statute, CGS §37-4, states, "No person and no

firm or corporation or agent thereof, other than a pawnbroker as provided in section

21-44, shall, as guarantor or otherwise, directly or indirectly, loan money to any person

and, directly or indirectly, charge, demand, accept or make any agreement to receive

therefor interest at a rate greater than twelve per cent per annum.", which the

Defendants did in this State, and secured by a mortgage on real property in this State,

and to which the exceptions of CGS §37-9 do not apply.

       16. The Defendants have intentionally engaged in a scheme designed to

disguise residential mortgage loans made to consumers primarily for personal, family,

or household uses, as "commercial" loans (at times referred to herein as "non-

residential mortgage loans") in order to avoid the licensure and other requirements of

Title 36a, Chapter 668, Part I, Section 36a-485 et seq. of the Connecticut General

Statutes, thus acting in violation of the Connecticut Unfair Trade Practices Act

("CUTPA").

       17. The Defendants have not only engaged in the business of making

residential mortgage loans and acted as a mortgage broker without the statutorily

required mortgage lender, mortgage broker and mortgage loan originator licenses, but

have also violated the Commissioner's orders, made false statements to the

Commissioner, and deprived consumers of significant statutory protections, including,

inter alia, by failing to provide required residential lending disclosures.


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      18. The Defendants have imposed numerous and excessive, unscrupulous,

oppressive, unconscionable, and unfair up-front fees and finance charges upon

residential loan borrowers and non-residential loan borrowers in violation of CUTPA.

      19. The Defendants have imposed numerous and excessive, unscrupulous,

oppressive, unconscionable, and unfair up-front fees and finance charges upon

residential loan borrowers and non-residential loan borrowers in violation of CUTPA.

      20. The Defendants have also acted as a mortgage servicer in connection with

residential mortgage loans, without obtaining the statutorily required mortgage servicer

license from the Banking Commissioner.

      21. The Defendants acted as a loan servicer for such residential mortgage

loans, as well as non-residential mortgage loans, including by collecting payments

from borrowers and communicating with borrowers regarding loan balances,

delinquencies, and defaults, and forwarding borrower payments to third-party

investor/assignees.

      22. The Defendants have, in some instances, failed to properly account for

monies while acting as a mortgage lender and servicer for both residential and non-

residential mortgage loans, including by failing to pay contractors monies that were

withheld for such purposes and failing to remit monies collected from borrowers for

property taxes to the appropriate taxing authority, in violation of CUTPA.

       23. The acts and practices described herein occurred in trade or commerce in

the State of Connecticut.


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      24. The acts and practices described herein have caused substantial injury to

borrowers.

      25. All Defendants have engaged in the acts or practices alleged herein when

he knew or should have known that his conduct was unfair and deceptive, in violation

of CGS §42-110b(a)

      26. All Defendants, in deliberately making and marketing loans to other state

jurisdictions secured by real property in them, including Connecticut, and then seeking

to enforce fraudulently created contracts in Nevada and Wisconsin, have actively,

knowingly and wilfully attempted to circumvent all sorts of usury, consumer protection,

lending and financial regulatory laws and frameworks. The Defendants all continue to

profit from and utilize the proceeds therefrom, which have been obtained by the use of

telecommunications, wire and mail and across state lines throughout the United

States. The Defendants engage in this activity with a common purpose, a common

enterprise and a long standing enterprise that preexisted the transaction they

fraudulently induced the Defendant into and then unlawfully attempted to enforce.

      27. In doing so, the Defendants not only defrauded the Plaintiff into the Note

and Mortgage, but continued to defraud the Plaintiff into a Lease agreement, and

collected extortionate fees up front in addition to extortionate payments thereafter, the

proceeds of which one or more or all Defendants kept, were unjustly enriched by and

utilized in the furtherance of their common Racketeering enterprise, knowing that the

proceeds therefrom were the product of their unlawful conspiracy complained of


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herein.

      28. In doing so, the Defendants own or control and profit from an unlawful

enterprise that operates as an unlicensed money transmitting business , which

operates across state lines, without any lending , banking or any other financial

business license offered by any State or through the United States government, and

knowingly involved interstate financial transactions that included the one complained

of with the Plaintiff. Aforesaid unlawful enterprise thrives and allows other participants

to engage in and invest in and profit in its scheme by: (1) improperly abusing the

Nevada and other State Courts to obtain fraudulent judgments, which are sold,

transferred and/or hypothecated, and that could otherwise be used or utilized as tax

write offs or credits when said debt is forgiven or rendered foreseeably uncollectible;

and (2) fraudulently obtaining interest in real property throughout the United States,

which are sold, transferred and/or hypothecated, and that could otherwise be used or

utilized as a means to establish an accounting basis in which to raise capital to further

the Defendants' Racketeering Enterprise; and (3) extorts sufficient up front finder's

fees through shell entities/alter egos and additional charges through up front

extortionate origination fees to provide sufficient operating capital and liquidity.

       29. After engaging in or aiding and abetting in all of the above activities, the

Danjon Defendants then commenced a civil action in Clark County Nevada to collect

the illegal loan disguised as a restaurant equipment lease, plus all purported costs and

interests, from the Defendant, seeking a total sum now in excess of $112,761.26.


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       30. After engaging in or aiding and abetting in all of the above activities, WBL

commenced a foreclosure action in Connecticut to collect the fees and charges

specified in ,i13, which it assigned all interest in to its alter ego, WBL II.

       31. The Plaintiff used the loans for consumer and household purposes.

                      Ill. Specific Counts

       Count One - Civil RICO 18 U.S.C. §1962(d): Unlawful Collection of Debt

       32. As complained of in parapraphs 1-30, the Defendants conspired to issue

and then collect on usurious, and thus illegal, loans. Section 1962(d) if Title 18

"prohibits any person from conspiring to violation subsections (a), (b), or (c)."

       33. This an endeavor which, if completed, would, and upon its completion, did

constitute a violation of Section 1962(d) if Title 18. Section 1962(c) prohibits any

person employed by or associated with an enterprise engaged in interstate commerce

from conducting or participating in the affairs of the enterprise through a pattern of

racketeering activity "or through collection of an unlawful debt.

       34. The Defendants jointly and seperately conducted an enterprise to advertise,

solicit, open, broker and service loans in violation of the Usury, Banking, Finance and

Lending Laws of Connecticut, including the loan complained of and made to the

Plaintiff and in a manner that preexisted the Plaintiffs loan.

       35. The Defendant's pattern of Racketeering Activity employed the use of wire

and mail to fraudulently induce the Plaintiff and others so similarly situated to act, and

those financially desperate to act, and she and others so did, and not only agreed to


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the extortionate loan terms, but also to sign onto the the artifice restaurant equipment

agreement.

      36. The aforesaid loans, unlawful debts, which are a product of fraud and

violate public policy, good conscience and sound consumer protection and banking

law, are unenforceable as a matter of CGS §37-4 (and whose interest rate is well

beyond twice the usurious rate of interest set by Connecticut Law), CGS §42-110(a)

and 15 USC §1692i

       Count Two -Wire Fraud 18 USC §1964(c)

       37. As complained of in paragraphs 1-30, the Defendants voluntarily and

intentionally devised or participated in a scheme to defraud the Plaintiff out of her

money and into granting them an interest in real property located in Connecticut, and

they did so with intent to so defraud her, and employed interstate wire communications

in this scheme intending to so defraud her, and they have in fact so defrauded her

employing such means, in violation of 18 USC §1343.

       38. 18 USC §1964(c) states, "Any person injured in his business or property by

reason of a violation of section 1962 of this chapter may sue therefor in any

appropriate United States district court and shall recover threefold the damages he

sustains and the cost of the suit, including a reasonable attorney's fee, except that no

person may rely upon any conduct that would have been actionable as fraud in the

purchase or sale of securities to establish a violation of section 1962. The exception

contained in the preceding sentence does not apply to an action against any person


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that is criminally convicted in connection with the fraud, in which case the statute of

limitations shall start to run on the date on which the conviction becomes final."

       39. The Defendants first employed the use of intermediary third party entities to

first extract two seperate finder's fee payments of $2,500 apiece during early 2016 to

put the Plaintiff in touch with Defendant Danjon, through use of interstate wire

communications. Defendants Danjon and Hampton subsequently, through the use of

interstate wire communications, presented the Note and Mortgage for the Plaintiff's

execution. Post execution of the Note and Mortgage, after receiving a grant of

beneficial interest in real property by means of fraudulent inducement, the Defendants

then next induced the Plaintiff into the fraudulent restaurant lease equipment

agreement, which was a precondition the Defendants required of her - by and through

the use of interstate wire communications - in order to receive the funds promised

under the Note.

     Count Three - Civil Rackteering: Laundering of Monetary Instruments 18
USC §1964(c)

       40. As complained of in paragraphs 1-30, the Defendants attempted to conduct

and in fact did conduct financial transactions, including the ones the Plaintiff was

fraudulently induced into, knowing that the property involved in the financial

transaction represents the proceeds of some unlawful activity in violation of 18 USC

§1956, and knowing that the sum of the value of: (1) the interest in the real property

the Plaintiff was fraudulently induced to grant the Defendants; plus (2) the extortionate

origination and other fees fraudulently extracted from the Plaintiff by the Defendants;

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plus the foreseeable value of any civil judgment fraudulently obtained through the

Nevada Courts the Defendants reasonably expected to unlawfully and under

fraudulent pretenses extract from the Plaintiff or cause to be impaired or rendered

unavailable to her; plus (3) the value of the equipment, title to which the Defendants

fraudulently extracted from the Plaintiff by way of the fraudulent lease agreement all

have an aggregate value well exceeding $20,000. CGS §53a-119 provides "A person

commits larceny when, with intent to deprive another of property or to appropriate the

same to himself or a third person, he wrongfully takes, obtains or withholds such

property from an owner. Larceny includes, but is not limited to ... (2) Obtaining property

by false pretenses. A person obtains property by false pretenses when, by any false

token, pretense or device, he obtains from another any property, with intent to defraud

him or any other person." CGS §53a-122 states, in relevant part, "(a) A person is guilty

of larceny in the first degree when he commits larceny, as defined in section 53a-119,

and: (1) The property or service, regardless of its nature and value, is obtained by

extortion, (2) the value of the property or service exceeds twenty thousand dollars ... ",

making the fraudulent scheme felonious under Connecticut Law in its own right.

       41. The face value of the Danjon Note is $30,000.

       42. The face value of the WBL Note is $20,000.

       43. The Danjon Note, Mortgage and equipment lease the Plaintiff was fraulently

induced into constituted a A "transaction" is as defined in 18 USC §1956(c)(3), which

involved ACH and wire payments and in which Defendants Danjon and Hampton not


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only knew to be illegally derived, but also helped initiate and conclude. Said

transaction was a "financial transaction" for the purposes of 18 USC §1956(c)(4)

because it ( 1) involved the movement of funds by wire or by other means; (2) involved

the use of the Note; (3) involved the transfer of interest in real property, and (4)

involves the use of a financial institution which is engaged in, or the activities of which

affect, interstate or foreign commerce.

       44. Aforesaid unlawful enterprise further thrives and allows other participants to

engage in and invest in and profit in its scheme by: (1) improperly abusing the Nevada

Courts to obtain fraudulent judgments, which are sold, transferred and/or

hypothecated, and that could otherwise be used or utilized as tax write offs or credits

when said debt is forgiven or rendered foreseeably uncollectible; and (2) fraudulently

obtaining interest in real property throughout the United States, which are sold,

transferred and/or hypothecated, and that could otherwise be used or utilized as a

means to establish an accounting basis in which to raise capital to further the

Defendants' Racketeering Enterprise; and (3) extorts sufficient up front finder's fees

through shell entities/alter egos and additional charges through up front extortionate

origination fees to provide sufficient operating capital and liquidity.

       45. The Defendants acted in the manner they did, in concert and collectively, to:

(1) promote the carrying on of specified unlawful activity complained of herein in

violation of 18 USC § 1956(a)( 1)(A)(i); (2) with knowledge that the transaction was

designed to conceal or disguise the nature, location, source, ownership or control of


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proceeds of the specified unlawful activity in violation of 18 USC §1956(a)(1)(B)(i); and

(3) in violation of 18 USC §1956(a)(1)(B)(ii) with knowledge that the transaction was

designed to avoid a transaction reporting requirement under State or Federal law

      Count Four - Connecticut Unfair Trade Practices Act CGS §42-1109

      46. As complained of in paragraphs 1-30, the Defendants reached into the

jurisdiction of Connecticut through the use of interstate telecommunications, and

defrauded the Plaintiff and others similarly situated in order to: engage in activities

determined to offend particular State and Federal Law as complained of herein, do so

in a manner contrary to public policy and do so in a manner that is oppressive,

burdensome, unconscionable, unfair and notoriously deceptive.

       47. The Note and Mortgage the Defendants have attempted to diguise as a

restaurant equipment lease This included an origination fee of $1770, which Danjon

extracted up front, on Day one of the Loan. Both the Note and the Fraudulent Lease

called for identical weekly payments in the amount of $1,018.69, with late fees being

the higher of $300 or any unpaid portion of the payment not made. The annual

percentage of the loan exceeds 400 percent. The Note also provides for $5,000 in

additional fees that are deferred until July 2017, which also take effect if the Note is

not paid in full by that date. The Defendants claimed compensatory damages "in

excess of $15,000" for equipment that they never owned, they never purchased, they

never controlled and never even existed within the State of Nevada. $112,761.26 was

claimed to be owed in total under the fraudulent lease agreement. On its face, this


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defies Connecticut's usury statute, which caps interest at twelve percent (12%) per

annum.

      48 . The Defendants do not fit within any exception to the statue as

contemplated by CGS §37-9, as, among other things, the Mortgage is not bona fide

(as it is fraudulent on the inducement) and none of the Defendants have any license,

charter or permission to conduct banking, loan servicing or any such activities in any

capacity in this State. Moreover, the Defendants have acted in a manner so as to

notoriously attempt all means of evasion of detection by Connecticut or Federal

Banking regulators. The Defendants did so while expressly electing to engage in

business and commerce within the State of Connecticut, as evidenced by: (1) their

business model, which is an equal opportunity attempt to secure any and all interest in

real property by whatever deceptive pretense is available from the Plaintiff and those

similarly situated to her; (2) their notorious employment of the fraudulent use of

interstate telecommunications and wire means to effectuate the acts complained of;

and (3) the Defendants' choice to accept and then record its fraudulently obtained

interest an real property in the State of Connecticut, which the Plaintiff would ask this

Court to extinguish or rule otherwise invalid .

       49. The manner in which the Loan and its immediately subsequent transactional

disguise, the fraudulent restaurant lease contract, was an artifice designed to defeat

reporting and disclosure requirements under the Connecticut Truth in Lending Act, the

Real Estate Settlement Procedures Act, the Fair Credit Reporting Act and all other


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manner and sort of consumer protection laws. Rather than go through the proper

steps, set up an agent for service, register with the Secretary of State and

Commissioners of Banking and Consumer Protection, the Defendants simply

employed rogue, high pressure, deceptive and unlawful means to in an intentional,

knowing campaign to defeat or circumvent the Law of this State.

       50. A copy of this Complaint will be served on the Attorney General as required

by Law.

     Count Five - Fair Debt Collections Practices Act, 15 USC §1692i, as to
Danjon Defendants

       51. As complained of in paragraphs 1-30, the Danjon Defendants have

attempted to collect a debt alleged to be owed by a Connecticut resident and secured

by a mortgage on real property in Connecticut. The Danjon Note and Mortgage were

also signed in Connecticut.

       52. The Danjon Defendants brought an action to collect on the debt in Nevada,

where the property securing it is not located and where the Plaintiff does not and

never has lived.

       Count Six - Fair Debt Collections Practices Act, 15 USC §1692e

       53. As complained of in paragraphs 1-30, the Defendants have not only create

the debts they allege fraudulently, they have notoriously misrepresented their

character, amount and status.

       54. The Danjon Defendants have taken action they legally cannot take, by filing

suit to collect on a debt secured by real property in Connecticut - in Nevada, a forum

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known to be inconvenient and a forum known to be improper for the purposes of 15

USC §1692i.

      55. All Defendants have taken action they legally cannot take, by attempting to

enforce the fraudulently created Danjon and WBL Notes and Mortgages.


      WHEREFORE, the Plaintiff claims:

      A. Damages and Costs
      B. Damages and Punitive Damages pursuant to CGS §42-11 0g
      C. Damages Pursuant to 15 USC §1692k
      D. Damages Pursuant to 18 USC §1964
      E. Declaratory Relief that the Danjon and WBL Notes and Mortgages are
      Fraudulent and Void
      F. Appointment of a Receiver to Secure the Defendants' Assets in this
      Jurisdiction
      G. Any Other Relief the Court Deems Proper


              Respectfully Submitted,


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              ElissaSpe~
                                               Dated this   9   Day of-0-Gteber, 2019

              50 Sunnyside Ave
              Norwich, CT 06360




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